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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 In re:                                             §      Chapter 7
                                                    §
 DZS INC.                                           §      Case No. 25-40712 (BTR)
                                                    §
                 Debtor.                            §
 In re:                                             §      Chapter 7
                                                    §
 DZS SERVICES INC.                                  §      Case No. 25-40713 (BTR)
                                                    §
                 Debtor.                            §
 In re:                                             §      Chapter 7
                                                    §
 DZS CALIFORNIA INC.                                §      Case No. 25-40714 (BTR)
                                                    §
                 Debtor.                            §

                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE AND NOTICE

          PLEASE TAKE NOTICE that, pursuant to Rules 2002, 9007 and 9010(b) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Sections 102(1) and 1109(b) of title

11 of the United States Code (the “Bankruptcy Code”), R. Adam Swick enters her appearance in

the above-referenced Chapter 7 cases as counsel to EdgeCo, LLC (“EdgeCo”) and hereby requests

that all notices given or required in these Chapter 7 Cases, and all documents, and all other papers

served in these Chapter 7 Cases, be given to and served upon the undersigned counsel listed below:

                             R. Adam Swick
                             AKERMAN LLP
                             500 West 5th Street, Suite 1210
                             Austin, TX 78701
                             Telephone:      (737) 999-7103
                             Facsimile:      (512) 623-6701
                             adam.swick@akerman.com

          PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in the


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provisions of the Bankruptcy Code and Bankruptcy Rules specified above, but also includes,

without limitation, orders and notices of any application, motion, petition, pleading, request,

complaint or demand, whether formal or informal, whether written or oral, and whether transmitted

or conveyed by mail, delivery, telephone, electronically or otherwise, which affects or pertains to

the Debtors, the property of the Debtors or their Chapter 7 estates.

         PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading, claim or suit shall waive EdgeCo’s rights (1) to have final orders in non-core matters

entered only after de novo review by a United States District Court, (2) to trial by jury in any

proceeding so triable in this case or any case, controversy, or proceeding related to this case, (3)

to have a United States District Court withdraw the reference in any matter subject to mandatory

or discretionary withdrawal, or (4) to any other rights, claims, actions, defenses, setoffs or

recoupments to which EdgeCo is, or may be, entitled under agreements, in law or in equity, all of

which rights, claims, actions, defenses, setoffs and recoupments are expressly reserved.

         PLEASE TAKE FURTHER NOTICE that the undersigned attorneys respectfully

request that they be added to the official service list for notice of all contested matters, adversary

proceedings and other proceedings in these Chapter 7 Cases.



                           [Remainder of page intentionally left blank]




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         Dated: March 26, 2025                      Respectfully submitted,

                                                    AKERMAN LLP

                                                    /s/ R. Adam Swick
                                                    R. Adam Swick, SBN: 24051794
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                                                    Austin, TX 78701
                                                    Telephone:    (737) 999-7103
                                                    Facsimile:    (512) 623-6701
                                                    adam.swick@akerman.com
                                                    -and-
                                                    Laura M. Taveras, SBN: 24127243
                                                    2001 Ross Avenue, Suite 3600
                                                    Dallas, TX 75201
                                                    Telephone:    (214) 720-4300
                                                    Facsimile:    (214) 981-9339
                                                    laura.taveras@akerman.com
                                                    Counsel for EdgeCo, LLC


                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 26, 2025 a true and correct copy of the foregoing was served
by the Court’s Electronic Case Filing System to all parties of record.


                                                    /s/ R. Adam Swick
                                                    R. Adam Swick




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